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8                         UNITED STATES DISTRICT COURT
9                        EASTERN DISTRICT OF CALIFORNIA
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14
     UNITED STATES OF AMERICA,               CR. NO. 2:09-00380-09 WBS
15                Plaintiff,                 ORDER
16
          v.
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     HECTOR CARRETERO-FLORES,
18
                   Defendant.
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23             On July 31, 2015, defendant Hector Carretero-Flores

24   filed a motion to reduce sentence pursuant to 18 U.S.C. § 3582.

25   (Docket No. 288.)    The United States shall file an opposition to

26   defendant’s motion no later than August 15, 2016.         Defendant may

27   file a reply no later than August 30, 2016.        The court will then

28   take the motion under submission and will inform the parties if
                                         1
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1    oral argument or further proceedings are necessary.

2              IT IS SO ORDERED.

3    Dated:   July 11, 2016

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